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 1                                                                 JUDGE JAMES L. ROBART

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 5                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 6                                      AT SEATTLE

 7
     UNITED STATES OF AMERICA,
 8                                                    No. CR 17-0234JLR
                                    Plaintiff,
 9                                                    ORDER GRANTING DEFENDANT’S
            v.                                        UNOPPOSED MOTION TO
10                                                    CONTINUE TRIAL DATE
     FACUNDO LISARRAGA VALLES,
11
                                    Defendant.
12

13          THIS MATTER comes before the court on Defendant Facundo Lisarraga Valles’

14   Motion for a Continuance of the Trial Date. The court has considered the reasons for the

15   motion, the agreement of the United States, and the file herein.

16          The court finds that the defendant needs additional time to meet with counsel,

17   investigate new evidence supporting the charges brought by the government, determine the

18   need for any pretrial motions pertaining to the evidence, and prepare for trial.

19          Based on these findings, the court concludes that the continuance of the trial date

20   sought by the parties serves the ends of justice. Further, the ends of justice served by a

21   continuance of this matter from October 25, 2021 outweighs the best interests of the public

22   and the defendant in a speedy trial pursuant to the Speedy Trial Act, 18 U.S.C. §

23   3161(h)(7)(A). Proceeding to trial absent adequate time for the defense to prepare could
                                                                  LAW OFFICE OF PAULA T. OLSON
     ORDER GRANTING DEFENDANT’S MOTION TO                             4020 North Vassault Street
     CONTINUE TRIAL DATE – Page 1                                    Tacoma, Washington 98407
                                                                          (253) 777-5716-Tel
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 1   result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(B)(i). Taking into account the

 2   exercise of due diligence, a continuance is necessary to allow the defendants the reasonable

 3   time for effective preparation for their defense. 18 U.S.C. § 3161(h)(7)(B)(iv).

 4          Therefore, it is hereby

 5          ORDERED that Defendant Facundo Lisarraga Valles’ Motion to Continue the

 6   Trial Date is GRANTED. The Trial Date is continued to January 3, 2022.

 7          It is further

 8          ORDERED that the time from the date of this order, until the new trial date of

 9   January 3, 2022, shall be excluded in counting the time within which trial of this case must

10   commence pursuant to 18 U.S.C. § 3161(h)(7).
11          DATED this 15th day of October, 2021.

12

13
                                                            A
                                                          _________________________________
                                                          JAMES L. ROBART
                                                          United States District Judge
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     Presented by:
17

        /S/ Paula T. Olson
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     PAULA T. OLSON, WSBA#11584
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     Attorney for Defendant Facundo Lisarraga Valles

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                                                                 LAW OFFICE OF PAULA T. OLSON
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